






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00452-CR







Shannon Eve Meredith, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT


NO. 3041680, HONORABLE MICHAEL LYNCH, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Shannon Eve Meredith seeks to appeal from an order modifying the conditions of her
community supervision.  There is no right of appeal from such an order.  Basaldua v. State, 558
S.W.2d 2, 5 (Tex. Crim. App. 1977).

The appeal is dismissed.



				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   September 6, 2006

Do Not Publish


